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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ASBESTOS PRODUCTS                          Consolidated Under
LIABILITY LITIGATION (No. VI)                     MDL DOCKET NO. 875



DAMON
                                                  E.D. PA Case No. 14-01954
             v.                   F ~ l [ED       (Lead Case)

                                 APR l 7: 2014
AIREON MFG. CORP., et al.            :
                       MICH.\EL E. KIJNZ, Cieri<
_______________________ 6Y. =-. _ _     ~ ~e_p._C~e~   ___________________________ _

DAMON
                                                 E.D. PA Case No. 14-02026
             v.                                  (Member Case)


CLEAVER-BROOKS, INC., et al.



                                     0 RD ER

             AND NOW, this 17th day of April, 2014, it is hereby

ORDERED that the above cases are CONSOLIDATED. All pleadings are

to be filed under the lead case number. The member case is to be

statistically CLOSED and the caption of the lead case is to be

amended to include all defendants from the member case.




                                                 AND IT IS SO ORDERED.



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                                                 EDUARDO C. ROBRENO, J.
